     Case 2:09-cr-06062-EFS   ECF No. 82   filed 12/17/09   PageID.181 Page 1 of 2




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 4
                           UNITED STATES DISTRICT COURT
 5                        EASTERN DISTRICT OF WASHINGTON
 6   UNITED STATES OF AMERICA,                )
                                              )
 7                     Plaintiff,             )      No. CR-09-6062-EFS-2
                                              )          CR-09-6062-EFS-3
 8   v.                                       )
                                              )      ORDER GRANTING MOTION TO
 9   TROY GREEN,                              )      EXPEDITE AND ORDER GRANTING
     SONYA SYMONS,                            )      MOTION TO MODIFY CONDITIONS
10                                            )      OF RELEASE TO ALLOW FAMILY
                       Defendants.            )      CONTACT
11
12         BEFORE THE COURT is Defendant Troy Green’s Motion to modify the
13   release conditions entered October 28, 2009, specifically condition
14   number 16, that there be no contact between Co-Defendants.                Counsel
15   for Ms. Symons joins in the Motion.              Mr. Green has also filed a
16   motion to expedite under L.R. 7.1(h)(6), Local Rules for the Eastern
17   District of Washington. Assistant U.S. Attorney Ellis has responded
18   orally.
19         Mr. Green and Ms. Symons are brother and sister. Their mother,
20   Karen Vaca will be holding a family gathering from December 18,
21   2009, through December 20, 2009, in which many members of the family
22   will be attending.       Mr. Green requests that the condition allowing
23   no contact between Co-Defendants be modified as to he and Ms. Symons
24   for the weekend of the gathering so that he may attend the holiday
25   gathering with his family. Mr. Green will not have any conversation
26   or contact with Ms. Symons regarding this matter.                For good cause
27   shown,
28         IT IS ORDERED that the Motion to Expedite and Motion to Modify

     ORDER GRANTING MOTION TO EXPEDITE AND ORDER GRANTING MOTION TO
     MODIFY CONDITIONS OF RELEASE TO ALLOW FAMILY CONTACT - 1
     Case 2:09-cr-06062-EFS   ECF No. 82   filed 12/17/09   PageID.182 Page 2 of 2




 1   (Ct. Rec. 79, No. CR-09-6062-EFS-2) are GRANTED.               Condition number
 2   16 is modified to allow contact between Mr. Green and Ms. Symons
 3   over the weekend of December 18 through December 20, 2009, with
 4   strict instructions that neither Mr. Green nor Ms. Symons will
 5   discuss this instant matter with one another or with other members
 6   of the family.
 7         The Clerk of the court shall provide copies of this Order to
 8   counsel for the parties and to the U.S. Probation Office.
 9         DATED December 17, 2009.
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11                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING MOTION TO EXPEDITE AND ORDER GRANTING MOTION TO
     MODIFY CONDITIONS OF RELEASE TO ALLOW FAMILY CONTACT - 2
